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JS 44 (Rev. 0$"#%)                                                    CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                        DEFENDANTS
Connecticut General Life Ins. Co. and Cigna Health and Life Ins. Co.                                   BioHealth Laboratories, Inc, PB Laboratories, LLC, Epic Reference
                                                                                                       Labs, Inc., Epinex Diagnostics, Inc., NJ Reference Laboratories, Inc.,
                                                                                                       and Alethea Laboratories, Inc.
   (b) County of Residence of First Listed Plaintiff         Hartford                                   County of Residence of First Listed Defendant Palm Beach
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
Edward T. Kang
Alston & Bird LLP, The Atlantic Building, 950 F Street, NW
Washington, DC 20004

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                        and One Box for Defendant)
" 1    U.S. Government             " 3   Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                        Citizen of This State         " 1        " 1      Incorporated or Principal Place       " 4     " 4
                                                                                                                                                    of Business In This State

" 2    U.S. Government             " 4   Diversity                                              Citizen of Another State          " 2    "    2   Incorporated and Principal Place    " 5     " 5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                Citizen or Subject of a           " 3    "    3   Foreign Nation                      " 6     " 6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                          TORTS                                 FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
" 110 Insurance                    PERSONAL INJURY                 PERSONAL INJURY              " 625 Drug Related Seizure          " 422 Appeal 28 USC 158          " 375 False Claims Act
" 120 Marine                     " 310 Airplane                  " 365 Personal Injury -              of Property 21 USC 881        " 423 Withdrawal                 " 376 Qui Tam (31 USC
" 130 Miller Act                 " 315 Airplane Product                Product Liability        " 690 Other                               28 USC 157                       3729(a))
" 140 Negotiable Instrument             Liability                " 367 Health Care/                                                                                  " 400 State Reapportionment
" 150 Recovery of Overpayment " 320 Assault, Libel &                   Pharmaceutical                                                 PROPERTY RIGHTS                " 410 Antitrust
      & Enforcement of Judgment         Slander                        Personal Injury                                              " 820 Copyrights                 " 430 Banks and Banking
" 151 Medicare Act               " 330 Federal Employers’              Product Liability                                            " 830 Patent                     " 450 Commerce
" 152 Recovery of Defaulted             Liability                " 368 Asbestos Personal                                            " 835 Patent - Abbreviated       " 460 Deportation
      Student Loans              " 340 Marine                          Injury Product                                                     New Drug Application       " 470 Racketeer Influenced and
      (Excludes Veterans)        " 345 Marine Product                  Liability                                                    " 840 Trademark                        Corrupt Organizations
" 153 Recovery of Overpayment           Liability                 PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                " 480 Consumer Credit
      of Veteran’s Benefits      " 350 Motor Vehicle             " 370 Other Fraud              " 710 Fair Labor Standards          " 861 HIA (1395ff)               " 485 Telephone Consumer
" 160 Stockholders’ Suits        " 355 Motor Vehicle             " 371 Truth in Lending                Act                          " 862 Black Lung (923)                 Protection Act
" 190 Other Contract                   Product Liability         " 380 Other Personal           " 720 Labor/Management              " 863 DIWC/DIWW (405(g))         " 490 Cable/Sat TV
" 195 Contract Product Liability " 360 Other Personal                  Property Damage                 Relations                    " 864 SSID Title XVI             " 850 Securities/Commodities/
" 196 Franchise                        Injury                    " 385 Property Damage          " 740 Railway Labor Act             " 865 RSI (405(g))                     Exchange
                                 " 362 Personal Injury -               Product Liability        " 751 Family and Medical                                             " 890 Other Statutory Actions
                                       Medical Malpractice                                             Leave Act                                                     " 891 Agricultural Acts
      REAL PROPERTY                  CIVIL RIGHTS                 PRISONER PETITIONS            " 790 Other Labor Litigation          FEDERAL TAX SUITS              " 893 Environmental Matters
" 210 Land Condemnation          " 440 Other Civil Rights          Habeas Corpus:               " 791 Employee Retirement           " 870 Taxes (U.S. Plaintiff      " 895 Freedom of Information
" 220 Foreclosure                " 441 Voting                    " 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
" 230 Rent Lease & Ejectment     " 442 Employment                " 510 Motions to Vacate                                            " 871 IRS—Third Party            " 896 Arbitration
" 240 Torts to Land              " 443 Housing/                        Sentence                                                            26 USC 7609               " 899 Administrative Procedure
" 245 Tort Product Liability           Accommodations            " 530 General                                                                                             Act/Review or Appeal of
" 290 All Other Real Property    " 445 Amer. w/Disabilities -    " 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                       Employment                  Other:                       " 462 Naturalization Application                                     " 950 Constitutionality of
                                 " 446 Amer. w/Disabilities -    " 540 Mandamus & Other         " 465 Other Immigration                                                    State Statutes
                                       Other                     " 550 Civil Rights                   Actions
                                 " 448 Education                 " 555 Prison Condition
                                                                 " 560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
" 1 Original             " 2 Removed from            " 3        Remanded from              " 4 Reinstated or       " 5 Transferred from      " 6 Multidistrict                 " 8 Multidistrict
    Proceeding               State Court                        Appellate Court                Reopened                Another District              Litigation -                  Litigation -
                                                                                                                    (specify)                        Transfer                     Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. § 1001, et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                      Plaintiffs seek overpayments made to Defendant as a result of Defendant's fraud.
VII. REQUESTED IN     " CHECK IF THIS IS A CLASS ACTION                                            DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                             JURY DEMAND:         " Yes      " No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
08/27/2019                                                        /s/ Edward T. Kang
FOR OFFICE USE ONLY

  RECEIPT #                   AMOUNT                                    APPLYING IFP                                      JUDGE                          MAG. JUDGE
